                 Case 2:09-cr-00094-MCE Document 43 Filed 11/04/09 Page 1 of 2


 1   DANIEL A. BACON 065099
     Attorney at Law
 2   5200 North Palm Avenue, Suite 408
     Fresno, California 93704-2225
 3   Telephone: (559) 241-7000
 4   Attorney for FRANCISCO JAVIER VELASCO
 5
 6                                      UNITED STATES DISTRICT COURT
 7                                     EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                  )                  Case No. 2:09 CR-0094 MCE
                                                )
10                        Plaintiff,            )                  STIPULATION TO CONTINUE
                                                )                  MOTION TO QUASH, STATUS
11                 vs.                          )                  CONFERENCE, AND MOTION TO
                                                )                  SUPPRESS EVIDENCE,
12   FRANCISCO JAVIER VELASCO,                  )                  AND ORDER THEREON
                                                )
13                        Defendant.            )                  DATE: November 12, 2009
     __________________________________________ )                  TIME: 9:00 AM
14                                                                 DEPT: Hon. Morrison C. England, Jr.
15                      IT IS HEREBY STIPULATED by and between the parties hereto, namely the
16   United States of America through their attorney of record, Assistant United States Attorney
17   Todd D. Leras, defendant Jose Salvador Sanchez-Palomino, through his attorney of
18   record, Assistant Federal Defender Lauren Cusick, Francisco Javier Velasco, through his
19   attorney of record, Daniel A. Bacon, and County of Shasta, through its attorney of record,
20   David M. Yorton, Jr., Deputy County Counsel, that the motion to quash subpoenas, the
21   status conference, and the motion to suppress evidence, presently scheduled before the
22   Hon Morrison C. England, Jr. for November 12, 2009 at the hour of 9:00 AM, be continued
23   to January 7, 2010 at 9:00 AM.
24                      It is further agreed by and between the parties that on said date, an
25   evidentiary hearing will be scheduled for the motion to suppress evidence at a time that is
26   convenient to the court, as well as the parties.
27                      It is further agreed that all previously-issued subpoenas are void, and new
28
     Stipulation to Continue Motion to Quash, Status Conference,
     and Motion to Suppress Evidence
     U.S.D.C. No. 2:09-CR-0094 MCE                                                                       1
                 Case 2:09-cr-00094-MCE Document 43 Filed 11/04/09 Page 2 of 2


 1   subpoenas will be issued with an appearance date of January 7, 2010 at 9:00 AM.
 2                      The parties agree that the delay resulting from the continuance shall be
 3   excluded in the interests of Justice, including, but not limited to, the need for the period of
 4   time set forth herein for effective defense preparation pursuant to 18 U.S.C. Section 3161
 5   (h)(8)(B)(iv), and availability of counsel.
 6   Dated: October 30, 2009                                  LAWRENCE G. BROWN, United States Attorney
 7
                                                              By:/s/ Todd D. Leras______________________
 8                                                               TODD D. LERAS, Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
 9
     Dated: October 30, 2009                                  DANIEL J. BRODERICK, Federal Defender
10
11                                                            By:/s/ Lauren Cusick
                                                                 LAUREN CUSICK, Attorney for
12                                                               JOSE SALVADOR SANCHEZ-PALOMINO
13   Dated: October 30, 2009.
14                                                            /s/ Daniel A. Bacon
                                                              DANIEL A. BACON, Attorney for
15                                                            FRANCISCO JAVIER VELASCO
16
     Dated: October 30, 2009.                                 MICHAEL A. RALSTON, Shasta County Counsel
17
18                                                            By:/s/ David M. Yorton, Jr.
                                                                 DAVID M. YORTON, JR., Attorney for
19                                                               COUNTY OF SHASTA
20                                                           ORDER
21                      IT SO ORDERED. Time is excluded in the interests of justice pursuant to
22   18 U.S.C. Section 3161 (h)(7)(B)(iv) and availability of counsel.
23
      Dated: November 3, 2009
24
25                                                             ______________________________
                                                               MORRISON C. ENGLAND, JR.
26
                                                               UNITED STATES DISTRICT JUDGE
27
28
     Stipulation to Continue Motion to Quash, Status Conference,
     and Motion to Suppress Evidence
     U.S.D.C. No. 2:09-CR-0094 MCE                                                                     2
